                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

                    Plaintiff,                                Case No. 3:12-cv-519

        v.

REX VENTURE GROUP, LLC d/b/a
ZEEKREWARDS.COM, and PAUL BURKS,

                    Defendants.



         NON-PARTY BANCA COMERCIALA VICTORIABANK SA’S
  MOTION TO VACATE ORDER STAYING DISSOLUTION OF FEBRUARY 12, 2016
                         FREEZE ORDER

        Non-Party Banca Comerciala Victoriabank SA (“Victoriabank”), appearing specially,

respectfully moves this Court to vacate its May 25, 2017 Order Staying Dissolution of the

February 12, 2016 Freeze Order (the “Stay Order” [ECF No. 606]). Alternatively, Victoriabank

requests that this Court require the Receiver to post a bond pursuant to Fed. R. Civ. P. 62(c) in

the amount of $13,174,015.48. Victoriabank also requests that the Court recommend to the

Fourth Circuit that the Receiver’s appeal be expedited.

        In support of this motion, Victoriabank relies on its supporting memorandum of law filed

contemporaneously herewith.


        Respectfully submitted, this 30th day of May, 2017.




31466399v1

             Case 3:12-cv-00519-GCM Document 607 Filed 05/30/17 Page 1 of 3
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                                            -2-
31466399v1

             Case 3:12-cv-00519-GCM Document 607 Filed 05/30/17 Page 2 of 3
                                 CERTIFICATE OF SERVICE

          I hereby certify that the foregoing NON-PARTY BANCA COMERCIALA

VICTORIABANK SA’S MOTION TO VACATE ORDER STAYING DISSOLUTION OF

FEBRUARY 12, 2016 FREEZE ORDER was electronically filed with the Clerk of Court using

the CM/ECF system, which automatically serves notification of such filing to all counsel of

record.

          This 30th day of May, 2017.



                                                      s/ Kiran H. Mehta
                                                    Kiran H. Mehta
                                                    North Carolina Bar No. 11011




                                              -3-
31466399v1

             Case 3:12-cv-00519-GCM Document 607 Filed 05/30/17 Page 3 of 3
